Case 2:08-cv-01021-PSG-RC Document 9-56 Filed 02/19/08 Pagelof4 Page ID #:326

EXHIBIT CCC
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Case 2:08-cv-01021-PSG-RC Document @d$.9 Filed 02/19/08 Page 2of4 PageID

ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, state bar number, and address):
+ After recording retum to:

Geraldine A. Wyle, SBN 89735

Y Jeryll S. Cohen, SBN 125392

Vivian L. Thoreen, SBN 224162

Luce, Forward, Hamilton & Scripps LLP

601 S. Figueroa St., Suite 3900, Los Angeles, CA 90017
TELEPHONE NO., (213) 892-4992
FAX NO. (Optonay: (213) 892-7731

E-MAIL ADDRESS (Optional):

ATTORNEY FOR (Name). James P. Spears

SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
STREET ADDRESS: 111 North Hill Street

MAILING ADDRESS: 111 North Hill Street

CITY AND zip cove: Los Angeles, California 90012
BRANCH NAME: Central

TEMPORARY [_] GUARDIANSHIP DQ) CONSERVATORSHIP FOR RECORDER'S USE ONLY

LETTERS OF TEMPORARY [_] GUARDIANSHIP [X]_ CONSERVATORSHIP

OF (Name): Britney Jean Spears CASE NUMBER:
C] minor BY CONSERVATEE | BP 108870

Person x] Estate
LETTERS
1. (Name): James P. Spears and Andrew M. Wallet

is appointed temporary [] guardian [BQ conservator ofthe [_] person
estate of (name): Britney Jean Spears

2.) Other powers have been granted or restrictions imposed on the temporary

guardian xX conservator as Cj specified below
specified in Attachment 2.

3. These Letters shall expire

a.C] on (date): or upon earlier issuance of Letters to a general
guardian or conservator.

FOR COURT USE ONLY

~

LOS ANGELES SUPERIOR COURT

FEB 14 2008
oN A CLARKE, CLERK

A Cole,
BYSL. WILLIAMS, DEPUTY

b. EX] other date (specify): Marc (0 2008

4.[_] Thetemporary [] guardian [-] conservator
without a specific court order.

5. Number of pages attached: 2

“he court, with seal of the i4 7008.

Ps asettetoncy 4 on", Date:
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xe 4 Clerk, by
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ae 2 = iF (DEPUTY)
+ = ray

is not authorized to take possession of money or any other property

, ALT PORNI® we
Mey at

Was eame quae AFFIRMATION
| solemnly affirm that | will perform the duties oftemporary [] guardian [XJ

conservator
Executed on (date): February 14, 2008

at (place): Los Angeles , California.

ames P. oD M. Wallet

DL

| / ae RTE
CERTIFICATION
! certify that this document and any attachments is a

the original on file in my office, and that the Letters issued to the
person appointed above have not been revoked, annulled, or set

a

according to law.

WITNESS, clerk of the court, with
seal of the court affixed.

Date: FEB 1 4 2008

Clerk, by

Ss

(DEPUTY)

aside and are still in full force and effect. <a>
Form sbproved for eee Use LETT ERS OF TEMP Oo Probate Code, § 2250 et seq.;
i a
GO180 Roy ancraiterta GUARDIANSHIP OR CONSERVATORSHIP Code of Civil Procedure, § 2015 6

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Case 2:08-cv-01021-PSG-RC Document 9-56 Filed 02/19/08 Page 3of4 Page ID #:328

Letters of

Temporary Conservatorship

of the Estate

Britney Jean Spears

Attachment 2

1. The Temporary Conservators of the Estate are granted the following powers in
addition to the powers provided by law:

a.

The Temporary Conservators shall have the power to obtain all documents
and records relating to the Conservatee and her assets, whether held in her
name or in the name of another, including but not limited to, all records
currently in the possession and control of the Conservatee’s business manager,
Howard Grossman, her attorneys, and others, all contracts, information
relating to credit cards, bank statements, estate planning documents,
receivables, and any and all powers of attorney.

The Temporary Conservators shall have the power to take all actions
necessary to secure the Conservatee’s assets, including the power to enter and
take possession and control of the Conservatee’s residence, to remove all
persons from the residence and take any and all actions necessary to secure
the residence, including changing the locks, call on law enforcement and
employ security guards at the expense of the Conservatorship Estate.

The Temporary Conservators shall have the power to take all actions
necessary to secure the Conservatee’s liquid assets, including but not limited
to, the power to cancel all credit cards.

The Temporary Conservators shall have the power to revoke all powers of
attorneys, including powers of attorney for making health care decisions and
managing real estate, and to terminate any and all agencies.

The Temporary Conservators shall have the power to commence and maintain
litigation and participate in any litigation with respect to which the
Conservatee is a party or has an interest, and the power to retain counsel and
experts, and to pay same from the Conservatorship Estate, not only as to the
family law case but for any other matter.

The Temporary Conservators have the power to perform any and all acts that
the Conservatee can perform (whether as an individual or in a representative
capacity) with respect to the local, state, or federal tax liabilities of the
Conservatee or any entity, trust or foundation in which the Conservatee acts in
a representative or ownership capacity (collectively referred to as
“Conservatee and related entities”), including but not limited to the power to
receive and inspect confidential tax information; receive, and endorse or cash
refund checks; sign any and all tax returns, whether income, corporate,
Case 2:08-cv-01021-PSG-RC Document 9-56 Filed 02/19/08 Page 4of4 Page ID #:329

employment, partnership, or otherwise; execute a Form 2848; represent the
Conservatee and related entities before all taxing authorities, participate in
audits; exercise the rights of the Conservatee and related entities to protest and
appeal assessments; pay amounts due to the appropriate taxing authority;
execute waivers, tax returns, consents, closing agreements, and similar
documents related to the tax lability of the Conservatee and related entities;
participate in all procedural matters connected with the tax liability of the
Conservatee and related entities; exercise any elections that may be available
to the Conservatee and related entities under applicable state or federal tax
laws or regulations; to substitute another representative; to request disclosure
of tax returns or return information to a third party; and to perform any other
acts described in California Probate Code section 4463, except those acts that
conflict with or are limited by a more specific provision in this Power.

g. The Temporary Conservators have the power to assert the Conservatee’s
rights in any trust established for her benefit, including but not limited to all
revocable inter vivos trusts established by the Conservatee as settlor or trustor,
but this power shall not include the power to modify, amend, or revoke any
such trusts, without a court order.

2. The Court grants the Temporary Conservators the powers pursuant to Probate
Code Section 2590 and the following powers set forth in Probate Code Section 2591:

a. To contract for the conservatorship and perform outstanding contracts and
thereby bind the estate, including asserting or waiving confidentiality
agreements.

b. To operate at the risk of the estate a business constituting an asset of the
estate,

c. To pay, collect, compromise, arbitrate, or otherwise adjust claims, debts, or
demands upon the Conservatorship Estate.

d. To employ attorneys, accountants, investment counsel, agents, depositaries,
and employees and to pay the expenses.

3. The Temporary Conservators have the power to prosecute civil harassment
restraining orders that they deem to be appropriate.

4, The Temporary Conservators are authorized and directed to pay, or to direct the
Co-Trustees of the SJB Revocable Trust, to pay, to Stephen S. Marmer, M.D., Ph.D., the court-
appointed expert under California Evidence Code section 730, a retainer in the amount of

$5,000.00.

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